                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF OHIO
                                                  WESTERN DIVISION

              In re: GARZA, DEBORAH LYNN                                                        § Case No. 16-30245-JPG
                     GARZA, NOE                                                                 §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on February 04, 2016. The undersigned trustee was appointed on February 04, 2016.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                17,374.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                              607.68
                                    Bank service fees                                                    377.59
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                           0.00
                             Leaving a balance on hand of 1                         $                16,388.73
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)




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               6. The deadline for filing non-governmental claims in this case was 08/05/2016
       and the deadline for filing governmental claims was 08/05/2016. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,487.40. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,487.40, for a total compensation of $2,487.40. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $73.32, for total expenses of
              2
       $73.32.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 07/19/2019                    By: /s/Ericka S. Parker
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)




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                                                                                                                                                                                    Exhibit A


                                                                                         Form 1                                                                                     Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 16-30245-JPG                                                                        Trustee:       (550590)      Ericka S. Parker
Case Name:            GARZA, DEBORAH LYNN                                                        Filed (f) or Converted (c): 02/04/16 (f)
                      GARZA, NOE                                                                 §341(a) Meeting Date:        03/31/16
Period Ending: 07/19/19                                                                          Claims Bar Date:             08/05/16

                                   1                                             2                          3                       4                    5                      6

                     Asset Description                                     Petition/               Estimated Net Value          Property            Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                       Unscheduled          (Value Determined By Trustee,    Abandoned            Received by       Administered (FA)/
                                                                            Values               Less Liens, Exemptions,       OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                               and Other Costs)                                                 Remaining Assets

 1        2850 Manley Rd., Mamee OH 43537, Lucas                               220,700.00                         0.00                                       660.00                     FA
          Single-fa

 2        2660 Fremont, Toledo OH 43605, Lucas                                   26,700.00                        0.00                                    6,471.73                      FA
          Investment

 3        2659 Norwalk St., Toledo OH 43605, Lucas                               63,900.00                        1.00                                   10,242.27                      FA
          Single-

 4        Deposits of money - : directions credit union                              200.00                       0.00                                         0.00                     FA

 5        Deposits of money - : directions credit union                               25.00                       0.00                                         0.00                     FA

 6        miscellaneous household goods                                           2,500.00                        0.00                                         0.00                     FA

 7        laptop                                                                     400.00                       0.00                                         0.00                     FA

 8        mens & womenes clothing                                                    200.00                       0.00                                         0.00                     FA

 9        walmart-conpushare(profit sharing)                                      3,600.07                        0.00                                         0.00                     FA

10        Ford                                                                    1,500.00                        0.00                                         0.00                     FA
          F250
          1997
          200000+. Entire property value:

11        15 taxes (u)                                                                 0.00                       0.00                                         0.00                     FA

12        Possible Preference (u)                                                      0.00                       0.00                                         0.00                     FA

13        Walmart Stock 401(k)                                                   23,086.95                        0.00                                         0.00                     FA

 13      Assets        Totals (Excluding unknown values)                       $342,812.02                       $1.00                                  $17,374.00                   $0.00



      Major Activities Affecting Case Closing:

                    07/10/19 file amended tfr 06/25/19 tfr filed

      Initial Projected Date Of Final Report (TFR):           April 27, 2017                       Current Projected Date Of Final Report (TFR):       June 25, 2019 (Actual)




                                                                                                                                                   Printed: 07/19/2019 10:13 AM     V.14.50

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                                                                                                                                                                              Exhibit B


                                                                                Form 2                                                                                         Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                                 Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                          Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                   Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                           Separate Bond: N/A

   1             2                          3                                    4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From              Description of Transaction                T-Code              $                   $              Account Balance
10/19/16                   GARZA, NOE                       Acct #16-30245; Payment #0. compromise                                 5,000.00                                   5,000.00
                                                            Redeem RE
               {2}                                            Acct #16-30245;                   734.30       1110-000                                                         5,000.00
                                                              Payment #0
               {3}                                            Acct #16-30245;                  4,265.70      1110-000                                                         5,000.00
                                                              Payment #0
10/31/16                   GARZA, DEBORAH LYNN & NOE        Acct #16-30245; Payment #1. compromise                                    200.00                                  5,200.00
                                                            Redeem RE
               {2}                                            Acct #16-30245;                   100.00       1110-000                                                         5,200.00
                                                              Payment #1
               {3}                                            Acct #16-30245;                   100.00       1110-000                                                         5,200.00
                                                              Payment #1
10/31/16                   Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                       10.00             5,190.00
11/30/16                   Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                       10.00             5,180.00
12/02/16                   GARZA, DEBORAH LYNN & NOE        Acct #16-30245; Payment #2. compromise                                    200.00                                  5,380.00
                                                            Redeem RE
               {2}                                            Acct #16-30245;                   100.00       1110-000                                                         5,380.00
                                                              Payment #2
               {3}                                            Acct #16-30245;                   100.00       1110-000                                                         5,380.00
                                                              Payment #2
12/16/16       101         Insurance Partners Agency, Inc   BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                        3.12             5,376.88
                                                            BALANCE AS OF 12/16/2016 FOR CASE
                                                            #16-30245, Bond Insurance Payment
12/30/16                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #3. compromise                                    200.00                                  5,576.88
                                                            Redeem RE
               {2}                                            Acct #16-30245;                   100.00       1110-000                                                         5,576.88
                                                              Payment #3
               {3}                                            Acct #16-30245;                   100.00       1110-000                                                         5,576.88
                                                              Payment #3
12/30/16                   Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                       10.00             5,566.88
01/30/17                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #4. compromise                                    200.00                                  5,766.88
                                                            Redeem RE
               {2}                                            Acct #16-30245;                   100.00       1110-000                                                         5,766.88
                                                              Payment #4
               {3}                                            Acct #16-30245;                   100.00       1110-000                                                         5,766.88
                                                              Payment #4
01/31/17                   Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                       10.00             5,756.88
02/27/17                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #5. compromise                                    200.00                                  5,956.88


                                                                                                   Subtotals :                    $6,000.00                $43.12
{} Asset reference(s)                                                                                                                      Printed: 07/19/2019 10:13 AM        V.14.50

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                                                     Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                               Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                        Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                 Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                 Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                         Separate Bond: N/A

   1             2                          3                                      4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction               T-Code              $                   $               Account Balance
                                                          Redeem RE
               {2}                                           Acct #16-30245;                   100.00      1110-000                                                          5,956.88
                                                             Payment #5
               {3}                                           Acct #16-30245;                   100.00      1110-000                                                          5,956.88
                                                             Payment #5
02/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                        10.00             5,946.88
03/28/17                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6. compromise                                    200.00                                   6,146.88
                                                          Redeem RE
               {2}                                           Acct #16-30245;                   100.00      1110-000                                                          6,146.88
                                                             Payment #6
               {3}                                           Acct #16-30245;                   100.00      1110-000                                                          6,146.88
                                                             Payment #6
03/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                        10.00             6,136.88
04/28/17                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6.compromise                                     200.00                                   6,336.88
                                                          Redeem RE
               {2}                                           Acct #16-30245;                   100.00      1110-000                                                          6,336.88
                                                             Payment #6
               {3}                                           Acct #16-30245;                   100.00      1110-000                                                          6,336.88
                                                             Payment #6
04/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                        10.00             6,326.88
05/01/17       102         Wilson Auction & Realty Co.    appraiser for trustee fees                       3711-000                                       600.00             5,726.88
05/30/17                   IRS                            Acct #16-30245; Payment #6. redeeming RE                               1,981.00                                    7,707.88
                                                          pusuant to order to comp
               {2}                                           Acct #16-30245;                   990.50      1110-000                                                          7,707.88
                                                             Payment #6
               {3}                                           Acct #16-30245;                   990.50      1110-000                                                          7,707.88
                                                             Payment #6
05/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                        10.00             7,697.88
06/01/17                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6. compromise                                    200.00                                   7,897.88
                                                          Redeem RE
               {2}                                           Acct #16-30245;                   100.00      1110-000                                                          7,897.88
                                                             Payment #6
               {3}                                           Acct #16-30245;                   100.00      1110-000                                                          7,897.88
                                                             Payment #6
06/30/17                   Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                        11.33             7,886.55
07/05/17                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6.compromise                                     200.00                                   8,086.55
                                                          Redeem RE
               {2}                                           Acct #16-30245;                   100.00      1110-000                                                          8,086.55

                                                                                                 Subtotals :                    $2,781.00                $651.33
{} Asset reference(s)                                                                                                                    Printed: 07/19/2019 10:13 AM         V.14.50

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                                                  Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                             Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                      Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                               Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                               Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                       Separate Bond: N/A

   1             2                          3                                 4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From           Description of Transaction               T-Code              $                   $              Account Balance
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00      1110-000                                                         8,086.55
                                                           Payment #6
07/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       11.18             8,075.37
08/01/17                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6. compromise                                   200.00                                  8,275.37
                                                         Redeem RE
               {2}                                         Acct #16-30245;                   100.00      1110-000                                                         8,275.37
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00      1110-000                                                         8,275.37
                                                           Payment #6
08/30/17                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6. compromise                                   200.00                                  8,475.37
                                                         Redeem RE
               {2}                                         Acct #16-30245;                   100.00      1110-000                                                         8,475.37
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00      1110-000                                                         8,475.37
                                                           Payment #6
08/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       13.05             8,462.32
09/26/17                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6.compromise                                    200.00                                  8,662.32
                                                         Redeem RE
               {2}                                         Acct #16-30245;                   100.00      1110-000                                                         8,662.32
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00      1110-000                                                         8,662.32
                                                           Payment #6
09/29/17                   Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       11.77             8,650.55
10/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       13.27             8,637.28
11/02/17                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6; compromise                                   200.00                                  8,837.28
                                                         Redeem RE
               {2}                                         Acct #16-30245;                   100.00      1110-000                                                         8,837.28
                                                           Payment #6;
                                                           ACCOUNTS
                                                           RECEIVABLE
               {3}                                         Acct #16-30245;                   100.00      1110-000                                                         8,837.28
                                                           Payment #6;
                                                           ACCOUNTS
                                                           RECEIVABLE
11/30/17                   Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       12.65             8,824.63
12/05/17                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6. compromise                                   200.00                                  9,024.63
                                                         Redeem RE


                                                                                               Subtotals :                    $1,000.00                $61.92
{} Asset reference(s)                                                                                                                  Printed: 07/19/2019 10:13 AM        V.14.50

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                                                  Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                              Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                       Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                        Separate Bond: N/A

   1             2                           3                                 4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $              Account Balance
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,024.63
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,024.63
                                                            Payment #6
12/29/17                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6. compromise                                   200.00                                  9,224.63
                                                          Redeem RE
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,224.63
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,224.63
                                                            Payment #6
12/29/17                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       12.48             9,212.15
01/31/18                   Deborah Garza                  Acct #16-30245; Payment #6-compromise                                    200.00                                  9,412.15
                                                          Redeem RE
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,412.15
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,412.15
                                                            Payment #6
01/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       14.53             9,397.62
02/28/18                   Noe & Deb Garza                Acct #16-30245; Payment #6.compromise                                    200.00                                  9,597.62
                                                          Redeem RE
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,597.62
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,597.62
                                                            Payment #6
02/28/18                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       12.60             9,585.02
03/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       13.77             9,571.25
04/02/18                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6 compromise                                    200.00                                  9,771.25
                                                          Redeem RE
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,771.25
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,771.25
                                                            Payment #6
04/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee                2600-000                                       13.51             9,757.74
05/03/18                   GARZA, DEBORAH LYNN            Acct #16-30245; Payment #6 Redeem Re                                     200.00                                  9,957.74
               {2}                                          Acct #16-30245;                   100.00      1110-000                                                         9,957.74
                                                            Payment #6
               {3}                                          Acct #16-30245;                   100.00      1110-000                                                         9,957.74
                                                            Payment #6


                                                                                                Subtotals :                    $1,000.00                $66.89
{} Asset reference(s)                                                                                                                   Printed: 07/19/2019 10:13 AM        V.14.50

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                                                                              Form 2                                                                                           Page: 5

                                                  Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                                 Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                          Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                   Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                           Separate Bond: N/A

   1             2                          3                                  4                                                  5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From           Description of Transaction                   T-Code              $                   $              Account Balance
05/31/18                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       15.66             9,942.08
06/06/18                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 redeem Re                                         200.00                               10,142.08
               {2}                                         Acct #16-30245;                   100.00          1110-000                                                      10,142.08
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00          1110-000                                                      10,142.08
                                                           Payment #6
06/29/18                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       14.02          10,128.06
07/06/18                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 Real estate                                       200.00                               10,328.06
               {2}                                         Acct #16-30245;                   100.00          1110-000                                                      10,328.06
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00          1110-000                                                      10,328.06
                                                           Payment #6
07/31/18                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       15.73          10,312.33
08/07/18                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 real estate                                       200.00                               10,512.33
                                                         redemption
               {2}                                         Acct #16-30245;                   100.00          1110-000                                                      10,512.33
                                                           Payment #6
               {3}                                         Acct #16-30245;                   100.00          1110-000                                                      10,512.33
                                                           Payment #6
08/31/18                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       15.54          10,496.79
09/10/18                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6; Acct #16-30245;                                  200.00                               10,696.79
                                                         Payment #6 redeem house
               {2}                                         Acct #16-30245;                   100.00          1110-000                                                      10,696.79
                                                           Payment #6; Acct
                                                           #16-30245; Payment #6
                                                           redeem house
               {3}                                         Acct #16-30245;                   100.00          1110-000                                                      10,696.79
                                                           Payment #6; Acct
                                                           #16-30245; Payment #6
                                                           redeem house
09/28/18                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                        8.13          10,688.66
10/07/18                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6; Acct #16-30245;                                  200.00                               10,888.66
                                                         Payment #6; Acct #16-30245; Payment #6
                                                         HOUSE PAYMENT
               {2}                                         Acct #16-30245;                    99.63          1110-000                                                      10,888.66
                                                           Payment #6; Acct
                                                           #16-30245; Payment #6;
                                                           Acct #16-30245;
                                                           Payment #6 HOUSE

                                                                                                  Subtotals :                     $1,000.00                $69.08
{} Asset reference(s)                                                                                                                      Printed: 07/19/2019 10:13 AM        V.14.50

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                                                                                   Form 2                                                                                     Page: 6

                                                    Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                                Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                         Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                  Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                  Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                          Separate Bond: N/A

   1             2                          3                                      4                                             5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From              Description of Transaction               T-Code              $                    $             Account Balance
                                                              PAYMENT
               {3}                                            Acct #16-30245;                   100.37      1110-000                                                      10,888.66
                                                              Payment #6; Acct
                                                              #16-30245; Payment #6;
                                                              Acct #16-30245;
                                                              Payment #6 HOUSE
                                                              PAYMENT
10/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                        9.78          10,878.88
11/09/18                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #6; Acct #16-30245;                               200.00                              11,078.88
                                                            Payment #6 redeem real estate
               {2}                                            Acct #16-30245;                    98.31      1110-000                                                      11,078.88
                                                              Payment #6; Acct
                                                              #16-30245; Payment #6
                                                              redeem real estate
               {3}                                            Acct #16-30245;                   101.69      1110-000                                                      11,078.88
                                                              Payment #6; Acct
                                                              #16-30245; Payment #6
                                                              redeem real estate
11/30/18                   Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                        9.03          11,069.85
12/05/18                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #6; Acct #16-30245;                               200.00                              11,269.85
                                                            Payment #6; Acct #16-30245; Payment #6
                                                            Real estate
               {2}                                            Acct #16-30245;                    98.31      1110-000                                                      11,269.85
                                                              Payment #6; Acct
                                                              #16-30245; Payment #6;
                                                              Acct #16-30245;
                                                              Payment #6 Real estate
               {3}                                            Acct #16-30245;                   101.69      1110-000                                                      11,269.85
                                                              Payment #6; Acct
                                                              #16-30245; Payment #6;
                                                              Acct #16-30245;
                                                              Payment #6 Real estate
12/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                2600-000                                        8.91          11,260.94
01/03/19       103         Insurance Partners Agency, Inc   BOND PREMIUM PAYMENT ON LEDGER                  2300-000                                        4.56          11,256.38
                                                            BALANCE AS OF 01/03/2019 FOR CASE
                                                            #16-30245
01/09/19                   GARZA, DEBORAH LYNN              Acct #16-30245; Payment #6 Real Estate                                    200.00                              11,456.38
               {2}                                            Acct #16-30245;                    97.66      1110-000                                                      11,456.38
                                                              Payment #6


                                                                                                  Subtotals :                        $600.00              $32.28
{} Asset reference(s)                                                                                                                      Printed: 07/19/2019 10:13 AM       V.14.50

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                                                                              Form 2                                                                                          Page: 7

                                                  Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                                 Trustee:            Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                          Bank Name:          Rabobank, N.A.
                     GARZA, NOE                                                                   Account:            ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                           Separate Bond: N/A

   1             2                          3                                  4                                                  5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements           Checking
  Date      Check #           Paid To / Received From           Description of Transaction                   T-Code              $                   $              Account Balance
               {3}                                         Acct #16-30245;                   102.34          1110-000                                                      11,456.38
                                                           Payment #6
01/31/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       10.27          11,446.11
02/11/19                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 house                                             200.00                               11,646.11
               {2}                                         Acct #16-30245;                    97.01          1110-000                                                      11,646.11
                                                           Payment #6
               {3}                                         Acct #16-30245;                   102.99          1110-000                                                      11,646.11
                                                           Payment #6
02/28/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                        8.86          11,637.25
03/20/19                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 real estate                                       200.00                               11,837.25
                                                         redemption payment
               {2}                                         Acct #16-30245;                    96.37          1110-000                                                      11,837.25
                                                           Payment #6
               {3}                                         Acct #16-30245;                   103.63          1110-000                                                      11,837.25
                                                           Payment #6
03/29/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                        9.26          11,827.99
04/12/19                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 real estate                                       200.00                               12,027.99
               {2}                                         Acct #16-30245;                    95.73          1110-000                                                      12,027.99
                                                           Payment #6
               {3}                                         Acct #16-30245;                   104.27          1110-000                                                      12,027.99
                                                           Payment #6
04/30/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       10.44          12,017.55
05/07/19                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 real estate                                       200.00                               12,217.55
               {2}                                         Acct #16-30245;                    95.10          1110-000                                                      12,217.55
                                                           Payment #6
               {3}                                         Acct #16-30245;                   104.90          1110-000                                                      12,217.55
                                                           Payment #6
05/31/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       10.33          12,207.22
06/04/19                   GARZA, DEBORAH LYNN           Acct #16-30245; Payment #6 real estate                                    3,533.00                                15,740.22
               {2}                                         Acct #16-30245;                   859.20          1110-000                                                      15,740.22
                                                           Payment #6
               {3}                                         Acct #16-30245;                   959.80          1110-000                                                      15,740.22
                                                           Payment #6
               {2}                                         Acct #16-30245;                   809.61          1110-000                                                      15,740.22
                                                           Payment #0
               {3}                                         Acct #16-30245;                   904.39          1110-000                                                      15,740.22
                                                           Payment #0
06/28/19                   Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                       11.49          15,728.73

                                                                                                  Subtotals :                     $4,333.00                $60.65
{} Asset reference(s)                                                                                                                      Printed: 07/19/2019 10:13 AM       V.14.50

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                                                                                Form 2                                                                                          Page: 8

                                                  Cash Receipts And Disbursements Record
Case Number:         16-30245-JPG                                                                Trustee:              Ericka S. Parker (550590)
Case Name:           GARZA, DEBORAH LYNN                                                         Bank Name:            Rabobank, N.A.
                     GARZA, NOE                                                                  Account:              ******6666 - Checking Account
Taxpayer ID #:       **-***8449                                                                  Blanket Bond:         $2,000,000.00 (per case limit)
Period Ending: 07/19/19                                                                          Separate Bond: N/A

   1             2                         3                                      4                                                5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From           Description of Transaction                    T-Code              $                   $               Account Balance
07/07/19       {1}         GARZA, DEBORAH LYNN          real estate/bank fees                               1110-000                   660.00                                16,388.73

                                                                                ACCOUNT TOTALS                                     17,374.00                 985.27        $16,388.73
                                                                                       Less: Bank Transfers                              0.00                  0.00
                                                                                Subtotal                                           17,374.00                 985.27
                                                                                       Less: Payments to Debtors                                               0.00
                                                                                NET Receipts / Disbursements                     $17,374.00                 $985.27



                                                                                                                                     Net                Net                  Account
                                                                                TOTAL - ALL ACCOUNTS                               Receipts        Disbursements             Balances

                                                                                Checking # ******6666                              17,374.00                 985.27          16,388.73

                                                                                                                                 $17,374.00                 $985.27        $16,388.73




{} Asset reference(s)                                                                                                                       Printed: 07/19/2019 10:13 AM        V.14.50

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                                      Claims Register Analysis - Exhibit C
                                     Case: 16-30245-JPG GARZA, DEBORAH LYNN
                                                                                                Claims Bar Date:   08/05/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./   Amount Filed/         Paid             Claim
Number   <Category>, Priority                    Date Filed    Notes             Allowed          to Date          Balance
         Ericka S. Parker                        Admin Ch. 7                        $73.32           $0.00           $73.32
         232 10th Street                         02/04/16                           $73.32
         Toledo, OH 43604
         <2200-00 Trustee Expenses>, 200
         Ericka S. Parker                        Admin Ch. 7                      $2,487.40          $0.00         $2,487.40
         P.O. Box 262                            02/04/16                         $2,487.40
         Curtice, OH 43412
         <2100-00 Trustee Compensation>, 200
 1       City of Maumee Ambulance Division       Unsecured     xxxxxx2365          $732.00           $0.00          $732.00
         PO Box 636979                           05/11/16                          $732.00
         Cincinnati, OH 45263
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       Cavalry SPV I, LLC                      Unsecured     xxxxxx2317         $1,703.79          $0.00         $1,703.79
         500 Summit Lake Drive, Ste 400          05/26/16                         $1,703.79
         Valhalla, NY 10595
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       Quantum3 Group LLC as agent for         Unsecured                        $3,076.44          $0.00         $3,076.44
         Credit Corp Solutions Inc               06/03/16                         $3,076.44
         PO Box 788
         Kirkland, WA 98083-0788
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       American InfoSource LP as agent for     Unsecured                        $5,521.00          $0.00         $5,521.00
         Promedica Health System,as assignee 06/09/16                             $5,521.00
         of
         FLOWER HOSPITAL,PO Box 248838
         Oklahoma City, OK 73124-8838
         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       American InfoSource LP as agent for     Unsecured     xxxxxx9309          $100.00           $0.00          $100.00
         Promedica Health System,as assignee 06/09/16                              $100.00
         of
         ST LUKES HOSPITAL,PO Box 248838
         Oklahoma City, OK 73124-8838
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       American InfoSource LP as agent for     Unsecured                         $907.00           $0.00          $907.00
         Promedica Health System,as assignee 06/09/16                              $907.00
         of
         Bay Park Comm. Hospital,PO Box 248838
         Oklahoma City, OK 73124-8838
         <7100-00 General Unsecured § 726(a)(2)>, 610




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                                   Claims Register Analysis - Exhibit C
                                 Case: 16-30245-JPG GARZA, DEBORAH LYNN
                                                                                                   Claims Bar Date:   08/05/16
 Claim   Claimant Name /                        Claim Type/   Claim Ref./       Amount Filed/         Paid             Claim
Number   <Category>, Priority                   Date Filed    Notes                 Allowed          to Date          Balance
 7       Portfolio Recovery Associates, LLC     Unsecured     xxxxxx                 $1,845.93          $0.00          $1,845.93
         POB 12914                              08/04/16                             $1,845.93
         Norfolk, VA 23541
         <7100-00 General Unsecured § 726(a)(2)>, 610
ADMIN    Wilson Auction & Realty Co.            Admin Ch. 7                           $600.00         $600.00             $0.00
         c/o Brent J. Wilson                    02/04/16                              $600.00
         825 N. Main Street
         Bryan,, OH 43506
         <3711-00 Appraiser for Trustee Fees>, 200

                                                                                   Case Total:        $600.00         $16,446.88




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                                    TRUSTEE'S PROPOSED DISTRIBUTION                                       Exhibit D

              Case No.: 16-30245-JPG
              Case Name: GARZA, DEBORAH LYNN
              Trustee Name: Ericka S. Parker
                                                 Balance on hand:                          $            16,388.73
               Claims of secured creditors will be paid as follows:

 Claim         Claimant                               Claim Allowed Amount Interim Payments              Proposed
 No.                                                Asserted       of Claim          to Date             Payment
                                                       None
                                                 Total to be paid to secured creditors:    $                 0.00
                                                 Remaining balance:                        $            16,388.73

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments          Proposed
                                                                                        to Date         Payment
Trustee, Fees - Ericka S. Parker                                       2,487.40                0.00        2,487.40
Trustee, Expenses - Ericka S. Parker                                      73.32                0.00           73.32
                             Total to be paid for chapter 7 administration expenses:       $             2,560.72
                             Remaining balance:                                            $            13,828.01

                Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments          Proposed
                                                                                        to Date         Payment
                                                       None
                             Total to be paid for prior chapter administrative expenses:   $                 0.00
                             Remaining balance:                                            $            13,828.01

              In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $0.00 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
 Claim         Claimant                                       Allowed Amount Interim Payments            Proposed
 No                                                                  of Claim          to Date           Payment
                                                       None
                                                 Total to be paid for priority claims:     $                 0.00
                                                 Remaining balance:                        $            13,828.01
               The actual distribution to wage claimants included above, if any, will be the proposed
         payment less applicable withholding taxes (which will be remitted to the appropriate taxing
         authorities).

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            Timely claims of general (unsecured) creditors totaling $ 13,886.16 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 99.6 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            City of Maumee Ambulance Division                         732.00                 0.00         728.93
  2            Cavalry SPV I, LLC                                      1,703.79                 0.00       1,696.66
  3            Quantum3 Group LLC as agent for                         3,076.44                 0.00       3,063.56
  4            American InfoSource LP as agent for                     5,521.00                 0.00       5,497.88
  5            American InfoSource LP as agent for                       100.00                 0.00          99.58
  6            American InfoSource LP as agent for                       907.00                 0.00         903.20
  7            Portfolio Recovery Associates, LLC                      1,845.93                 0.00       1,838.20
                             Total to be paid for timely general unsecured claims:          $           13,828.01
                             Remaining balance:                                             $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




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